UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

   Luis Saltos Jaramillo,                                     Civ. Action #:

                                   Plaintiff,                 Complaint
                 -v-
                                                              Date Filed:
   NYC American Management Inc., and
   37-68 97th Street LLC,                                     Jury Trial Demanded

                                   Defendants.

       Plaintiff Luis Saltos Jaramillo (“Plaintiff,” or “Jaramillo”), by Abdul Hassan Law Group,
PLLC, and his attorney, complaining of Defendants NYC American Management Inc. and 37-68
97th Street LLC (collectively “Defendants”), respectfully alleges as follows:


                            NATURE OF THE ACTION
1. Plaintiff alleges that he was employed by Defendants, individually, and/or jointly, and
   pursuant to the Fair Labor Standards Act ("FLSA"), 29 U.S.C. §§ 216 (b), he is: (i) entitled to
   unpaid overtime wages from Defendants for working more than forty hours in a week and
   not being paid an overtime rate of at least 1.5 times his regular rate for such hours over forty
   in a week; and (ii) entitled to maximum liquidated damages and attorneys’ fees pursuant to
   the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq. including 29 U.S.C. §§ 216(b).


2. Plaintiff further complains pursuant to New York Labor Law, that he is: (i) entitled to unpaid
   overtime wages from Defendants for working more than forty hours in a week and not being
   paid an overtime rate of at least 1.5 times his regular rate for such hours over forty in a week;
   and (ii) is entitled to maximum liquidated damages and attorneys’ fees, pursuant to the New
   York Minimum Wage Act (“NYMWA”), N.Y. Lab. Law §§ 650 et seq., including NYLL §
   663, and the regulations thereunder.


3. Plaintiff is also entitled to recover all of his unpaid wages, wage deductions, under Article 6
   of the New York Labor Law including Section 191, 193, 198, and compensation for not
   receiving notices and statements required by NYLL 195, and is also entitled to maximum



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   liquidated damages and attorneys’ fees pursuant to Section 198 of the New York Labor Law.


                         JURISDICTION AND VENUE
4. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337 and
   supplemental jurisdiction over plaintiff’s state law claims pursuant to 28 U.S.C. § 1367. In
   addition, the Court has jurisdiction over plaintiff’s claims under the Fair Labor Standards Act
   pursuant to 29 U.S.C. § 216 (b).


5. Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. § 1391(b) and 29
   U.S.C. § 216 (b).


6. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§
    2201 2202.


                               THE PARTIES
7. Plaintiff Luis Saltos Jaramillo (“Plaintiff” or “Jaramillo”) is an adult, over eighteen years old,
   who currently resides in Queens County in the State of New York.


8. At all times relevant herein, Defendant NYC American Management Inc. (“AMI”) was a
   New York corporation that managed the building in which Plaintiff worked and that Plaintiff
   maintained as well as Plaintiff’s employment herein.

9. At all times relevant herein, Defendant 37-68 97th Street LLC (“37-68 97th Street”) was a
   New York limited liability company that owned the building in which Plaintiff worked and
   that Plaintiff maintained, located at 37-68 97th Street, Corona, NY 11368.

10. At all times relevant herein, Defendants AMI and 37-68 97th Street individually and/or
   jointly, controlled the employment of Plaintiff and was responsible for retaining, firing,
   scheduling, controlling, managing, supervising, and record-keeping as to plaintiff’s
   employment, among other employment functions and performed such employment functions
   as to Plaintiff.




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11. At all times relevant herein, Plaintiff was employed individually and/or jointly, by
    Defendants.


                                    STATEMENT OF FACTS
12. Upon information and belief, and at all relevant times herein, Defendants were engaged in
    the business of real estate and building management and ownership within New York State.


13. Upon information and belief and at all times relevant herein, Defendants owned and/or
    operated several buildings and employed about 35 or more employees within New York
    State.


14. At all times relevant herein, Defendants, individually, and/or jointly, employed Plaintiff as a
    handyman and porter and Plaintiff performed manual and physical work throughout his
    workday, including maintenance and repairs in Defendants’ buildings – a multi-story
    building.


15. Upon information and belief, and at all times relevant herein, Plaintiff was individually
    and/or jointly, employed by Defendants from in or around 2011 to on or about July 12, 2022.

16. At all times relevant herein, Plaintiff was an hourly employee of Defendants, and his
    effective hourly rate was about $26.531 an hour.


17. At all times relevant herein, Plaintiff worked approximately 60-70 or more hours each week
    and likely more, 6-7 days a week – with the exception of about 2-4 weeks each year.

18. At all times relevant herein, Defendants paid Plaintiff for some overtime hours worked at a
    rate of about $22.50 an hour for about 3 overtime hours each week (hours over 40 in a week),
    instead of at his correct overtime rate of about $39.79 (see footnote 1), an hour resulting in an

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  Plaintiff was paid $15.00 an hour for 40 hours by check and he was also provided an apartment valued at $2,000 a
month as part of his compensation – resulting in an effective hourly rate of about $26.53/hr. See i.e. 29 C.F.R. §
778.116 ("Where, for example, an employer furnishes lodging to his employees in addition to cash wages the
reasonable cost or the fair value of the lodging (per week) must be added to the cash wages before the regular rate is
determined.").



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   underpayment of overtime wages each week during his employment with Defendants – with
   the exception of about 2-4 weeks each year. For example, for the pay period ending January
   30, 2022, Plaintiff worked at least 60 hours for Defendants during this pay period.
   Defendants paid Plaintiff at a rate of $15.00 an hour for 40 non-overtime hours and $22.50 an
   hour for 3 overtime hours during this period and Plaintiff was not paid any wages for his
   remaining 17 overtime hours worked this pay period.

19. At all times relevant herein, in addition to the hours claims in paragraph 18 above, Plaintiff
   worked on-call for an additional 10-15 hours each week for which he was not paid any wages
   in violation of the FLSA and NYLL. See i.e. 29 CFR § 785.17; 29 CFR § 785.16(a), etc.

20. A more precise statement of the hours and wages may be made when Plaintiff obtains the
   wage and time records Defendants were required to keep under the FLSA and NYLL.
   Accurate copies of plaintiff’s wage and time records that Defendants were required to keep
   pursuant to 29 USC 211, 29 CFR 516 and NYLL 195, 12 NYCRR 141, 142, are incorporated
   herein by reference.

21. At all times relevant herein, Defendants did not provide Plaintiff with the notice(s) required
   by NYLL 195(1). See i.e. Alonso Vazquez v. Azoulay, 834 F. App'x 653, 654 (2d Cir. 2021).

22. At all times relevant herein, Defendants did not provide Plaintiff with the statement(s)
   required by NYLL 195(3)- the wage statements provided to Plaintiff did not contain all hours
   worked by Plaintiff nor all wages earned, among other deficiencies. See i.e. Alonso Vazquez
   v. Azoulay, 834 F. App'x 653, 654 (2d Cir. 2021).

23. Upon information and belief and at all times relevant herein, Defendants, individually, and/or
   jointly, had annual revenues and/or expenditures in excess of $500,000.


24. At all times applicable herein, Defendants conducted business with vendors/entities/persons
   within the State of New York.


25. At all times applicable herein and upon information and belief, Defendants utilized the
   instrumentalities of interstate commerce such as the United States mail, electronic mail,


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   internet and telephone systems. As required by Defendants, Plaintiff utilized cell phone and
   electronic messaging as an integral part of his job to communicate with Defendants and
   tenants throughout his workday.


26. At all times applicable herein and upon information and belief, Defendants utilized the
   goods, materials, and services through interstate commerce.

27. Defendants as a regular part of their business, makes payment of taxes and other monies to
  agencies and entities outside the State of New York.

28. At all times applicable herein and upon information and belief, Defendants and the tenants in
   their buildings conducted business with mortgage companies, banks, insurance companies,
   and internet/email service providers within and outside the State of New York.

29. Defendants as a regular part of their business, engaged in credit card transactions involving
   banks and other institutions outside the state of New York.

30. At all times relevant herein and for the time Plaintiff was employed by Defendants,
   Defendants failed and willfully failed to pay Plaintiff an overtime rate of 1.5 times his regular
   rate of pay for all hours worked in excess of forty hours in a week for each week in which
   such overtime was worked.

31. Upon information and belief, and at all relevant times herein, Defendants failed to notify
   Plaintiff of his federal and state minimum wage and overtime rights and failed to inform
   Plaintiff that he could seek enforcement of such rights through the government enforcement
   agencies. See i.e. Veltri v. Building Service 32B-J Pension Fund, 393 F.3d 318, 324 (2d Cir.
   2004); Kim v. Kum Gang, Inc., No. 12 CIV. 6344 MHD, 2015 WL 2222438, at 33–34
   (S.D.N.Y. Mar. 19, 2015).


32. “Plaintiff” as used in this complaint refers to the named Plaintiff.


33. The “present” or the “present time” as used in this complaint refers to the date this complaint
   was signed.


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                          AS AND FOR A FIRST CAUSE OF ACTION
                    FAIR LABOR STANDARDS ACT - 29 U.S.C 201 et Seq.
34. Plaintiff alleges and incorporates by reference the allegations in paragraphs 1 through 33
   above as if set forth fully and at length herein.


35. At all times relevant to this action, Plaintiff was employed by Defendants, individually,
   and/or jointly, within the meaning of the FLSA, 29 USC 201 et Seq.


36. At all times relevant to this action, Plaintiff was engaged in commerce and/or in the
   production of goods for commerce and/or Defendants, individually, and/or jointly,
   constituted an enterprise(s) engaged in commerce within the meaning of 29 U.S.C. §§ 206
   and/or 207.


37. At all times relevant herein, Defendants, individually, and/or jointly, transacted commerce
   and business in excess of $500,000.00 annually or had revenues in excess of $500,000.00
   annually.


38. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to pay Plaintiff overtime compensation at a rate of at least 1.5 times his regular rate of
   pay for each hour worked in excess of forty hours in a week, in violation of 29 U.S.C. § 207.


                               Relief Demanded
39. Plaintiff is entitled to recover from Defendants, his unpaid overtime compensation,
   maximum liquidated damages, attorneys’ fees, and costs of the action, pursuant to 29 U.S.C.
   § 216(b).


                    AS AND FOR A SECOND CAUSE OF ACTION
            NYLL 650 et Seq. and 12 NYCRR 142, 141 etc. (Unpaid Overtime)
40. Plaintiff alleges, and incorporates by reference the allegations in paragraphs 1 through 38




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   above as if set forth fully and at length herein.


41. At all times relevant to this action, Plaintiff was employed by Defendants, individually
   and/or jointly, within the meaning of the New York Labor Law, §§ 2 and 651 and the
   regulations and wage orders thereunder including 12 NYCRR § 142, 141.


42. At all times relevant to this action, Plaintiff was employed by Defendants, individually
   and/or jointly, within the meaning of the New York Labor Law, §§ 2 and 651 and the
   regulations thereunder.

43. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to pay Plaintiff overtime compensation at rates of at least 1.5 times his regular rate of
   pay for each hour worked in excess of forty hours in a week, in violation of the New York
   Minimum Wage Act and its implementing regulations and wage orders including N.Y. Lab.
   Law §§ 650 et seq.; 12 NYCRR § 142-2.2 and 12 NYCRR § 141-1.4.


                               Relief Demanded
44. Due to Defendants’ New York Labor Law violations, Plaintiff is entitled to recover from
   Defendants, individually and/or jointly, his unpaid overtime compensation, prejudgment
   interest, maximum liquidated damages, reasonable attorneys' fees, and costs of the action,
   pursuant to N.Y. Labor L. § 663(1).


                       AS AND FOR A THIRD CAUSE OF ACTION
                         (NYLL § 190, 191, 193, 195 and 198)
45. Plaintiff alleges, and incorporates each and every allegation contained in paragraphs 1
   through 44 above with the same force and effect as if fully set forth at length herein.


46. At all times relevant to this action, Plaintiff was employed by Defendants, individually,
   and/or jointly, within the meaning of the New York Labor law, §§ 190 et seq., including §§
   191, 193, 195 and 198 and the applicable regulations thereunder.

47. At all relevant times herein, Defendants, individually and/or jointly, violated and willfully


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   violated Plaintiff’s rights under NY Labor Law § 190 et seq. including NY Labor Law §§
   191, 193 and 198 by failing to pay Plaintiff all his wages, including his unpaid overtime
   wages, and wage deductions due as required under NY Labor Law § 190 et seq.

48. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to provide Plaintiff with the notice(s) required by NYLL 195(1) – plaintiff is therefore
   entitled to and seeks to recover in this action the maximum recovery for this violation, plus
   attorneys’ fees and costs pursuant to NYLL 198 including NYLL 198(1-b), as well as an
   injunction directing Defendant to comply with NYLL 195(1).


49. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to provide Plaintiff with the statement(s) required by NYLL 195(3) – Plaintiff is
   therefore entitled to and seeks to recover in this action the maximum recovery for this
   violation, plus attorneys’ fees and costs pursuant to NYLL 198 including NYLL 198(1-d), as
   well as an injunction directing Defendants to comply with NYLL 195(1).


                               Relief Demanded
50. Due to Defendants’ New York Labor Law Article 6 violations including violation of sections
   191, 193, and 198, Plaintiff is entitled to recover from Defendants, individually, and/or
   jointly, his entire unpaid wages, including his unpaid overtime wages, wage deductions,
   maximum liquidated damages, prejudgment interest, maximum recovery for violations of
   NYLL §195(1) and NYLL § 195(3), reasonable attorneys’ fees, and costs of the action,
   pursuant to N.Y. Labor Law § 190 et seq. including § 198.


                               PRAYER FOR RELIEF
WHEREFORE, plaintiff respectfully requests that this Court grant the following relief:
51. Declare Defendants, individually and/or jointly, (including its overtime and wage payment
   policy and practice), to be in violation of the rights of Plaintiff, under the FLSA and New
   York Labor Law – 12 NYCRR § 142, 141 and Article 6 of the NYLL – NYLL § 190 et Seq.


52. As to the First Cause of Action, award Plaintiff his unpaid overtime wages due under the



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   FLSA, together with maximum liquidated damages, costs and attorneys’ fees pursuant to 29
   USC § 216(b);


53. As to the Second Cause of Action, award Plaintiff his unpaid overtime wages due under the
   New York Minimum Wage Act and the Regulations thereunder including 12 NYCRR § 142-
   2.2, NYCRR § 141-1.4, together with maximum liquidated damages, prejudgment interest,
   costs and attorneys’ fees pursuant to NYLL § 663;

54. As to the Third Cause of Action, award Plaintiff any and all outstanding wages, including
   his entire unpaid wages, including his unpaid overtime wages, wage deductions, maximum
   liquidated damages, prejudgment interest, maximum recovery for violations of NYLL 195(1)
   and NYLL 195(3), reasonable attorneys’ fees, and costs of the action, pursuant to N.Y. Labor
   Law § 190 et seq. including § 198.


55. Award Plaintiff, any relief requested or stated in the preceding paragraphs but which has not
   been requested in the WHEREFORE clause or “PRAYER FOR RELIEF”, in addition to the
   relief requested in the wherefore clause/prayer for relief;


56. Award Plaintiff such other, further and different relief as the Court deems just and proper.


Dated: Queens Village, New York
      July 30, 2022

Respectfully submitted,


Abdul Hassan Law Group, PLLC
/s/ Abdul Hassan _________________
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